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UNlTED STATES OF ANIER|CA

 

_V- 2:03CR20414-01-B

LEE ANDREW DOTSON
Robert Bari:ierl Retained
Defense Attorney
100 N. lillain Street, #2310
Nlemphis, TN 38103

 

JUDGIV|ENT lN A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 & 2 of the indictment on Septemloer 20, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title & Section MME_OFMEBS£ Offense Number(s)
_Co_ncl_u¢l@_e_d
21 U.S.C. § 841 (a)(1) Possession With intent To Distribute 09/03/2003 1
Contro|led Substance
18 U.S.C. § 922 (g) Felon in Possession Of A Firearm 09!05/2003 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 1/19/1955 Apri| 27, 2005
Deft’s U.S. Niarshal No.: 25465-018

This document entered on the docket she
with Fiule 55 and/or 32(|:)) FRCrP on

' J. DANIB; BREEN
u lTED sTATEs DisTi=iicT JchE

lViay 3 ,2005 @

et 'n compliance

Defendant’s iViai|ing Address:
5050 Pheasant Fiun Lane
Niemphis, TN 38141

 

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Case No: 2:030Ft20414-B Defendant Name: Lee Andrew DOTSON Page 2 of 4
llVlPFtlSONN|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of 92 Months. Said custody is the sum of 10
months imposed as to count 1, and 92 months imposed as to count 2, ordered to run
concurrentlyl

The Court recommends to the Bureau of Prisons:
* The 500 i-iour Drug Program

* Participation in an Educational Prograrn
* P|acement in a facility as close to Memphis, Tennessee, as possible

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN!TED STATES iVlAFtSHAL
By:

 

Deputy U.S. iVlarsha|

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Case No: 2:030Fi20414-B Defendant Name: Lee Andrew DOTSON Page 3 of 4

SUPERVISED FIELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

'r'. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administeredl The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:03CFi20414-B Defendant Name: l_ee Andrew DOTSON Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| |Vlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in substance abuse testing and treatment programs as directed by the
Probation Officer.
2) Cooperate with DNA collection as directed by the Probation Officer.

CFtllVllNAL IVlONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution 01 more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). A|i of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00
The Special Assessment shall be due immediately.
F|NE
No Fine is Ordered.
FtESTlTUTlON

No Fiestitution is ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
ease 2:03-CR-204]4 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

Robert J ames Barber

LAW OFFICE OF ROBERT BARBER
100 N. Main

Ste. 23 10

Memphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

